Case 4:14-cr-40028-TSH Document 400 Filed 06/14/18 Page 1 of 9
Case 4:14-cr-40028-TSH Document 400 Filed 06/14/18 Page 2 of 9
Case 4:14-cr-40028-TSH Document 400 Filed 06/14/18 Page 3 of 9
        Case 4:14-cr-40028-TSH Document 400 Filed 06/14/18 Page 4 of 9




Lis Pendens
Case 4:14-cr-40028-TSH Document 400 Filed 06/14/18 Page 5 of 9
Case 4:14-cr-40028-TSH Document 400 Filed 06/14/18 Page 6 of 9
Case 4:14-cr-40028-TSH Document 400 Filed 06/14/18 Page 7 of 9
Case 4:14-cr-40028-TSH Document 400 Filed 06/14/18 Page 8 of 9
Case 4:14-cr-40028-TSH Document 400 Filed 06/14/18 Page 9 of 9




                                  /s/ Timothy S. Hillman


6/14/18
